Attorney General Loving has asked me to respond to your recent request for an Attorney General Opinion relating to the constitutionality of a particular provision of the city charter for the city of Warr Acres.
As stated above your question refers to the interpretation of a city charter. The interpretation of city charters is the responsibility of the city officials who must act under it and their legal counsel. This is so, in part, because the actions that a city official takes pursuant to his or her interpretation of the city charter will be defended, if litigation ensues, by the attorney for the municipality. The city official must then abide by his or her legal counsel's opinion in order to be assured of a good faith defense. Moreover, this office does not have the authority to construe city charters and ordinances, but may only construe state laws and their application. In addition, opinions of the Attorney General reciting that an act of the Legislature is unconstitutional are advisory only, and thus not binding until finally so determined by an action in the district court of the state. York v. Turpen, 681 P.2d 763,767 (Okla. 1984).
I am sorry that we could not be of more assistance to you.
(Victor N. Bird)